
This case was heard and submitted with the case of Maria Blair et al. v. the Northwestern Ohio Natural Gas Co., and the Ohio Oil Co. 12 C. C., 78.
The same facts control both cases. The plaintiffs in this case set up their claim to .the premises, and ask an injunction against Kelley and Harris to prevent their operations under their lease from Blairs made April 24, 1895. We come to the same conclusion *886as to the rights of the parties. There is a finding for the plaintiff, injunction made perpetual. The answers and cross-petitions are-dismissed and the clerk is ordered to canee the lease to Kelley and. Harris.
M. E. Elliott and John Poe, for Plaintiffs.
George H. Phelps and A. Blackford, for Defendants.
